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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )            CASE NO. 8:03CR163
                                                 )
              Plaintiff,                         )
                                                 )
              vs.                                )                    ORDER
                                                 )
JORGE ARONJA-INDA,                               )
                                                 )
              Defendant.                         )

       This matter is before the Court on the Defendant’s objection to the retroactive

sentencing worksheet and request for leave to submit briefs (Filing No. 151).

       The Defendant filed a motion to reduce his sentence pursuant to amendment 706

to the sentencing guidelines as they regarding crack cocaine. (Filing No. 145.) Counsel

was appointed, and the probation office prepared a retroactive sentencing worksheet, to

which the Defendant objects. Defense counsel asks for leave to brief the issues. The

request for leave to submit briefs is granted.

       IT IS ORDERED:

       1.     The Defendant’s request for leave to submit briefs (Filing No. 151) is

              granted;

       2.     The Clerk is directed to leave the Defendant’s objection to the retroactive

              sentencing worksheet (Filing No. 151) on the docket as a pending motion;

       3.     The Defendant shall file his brief in support of the Defendant’s motion to

              reduce his sentence on or before May 9, 2008;

       4.     The government may file a brief on or before June 9, 2008; and

       5.     The Defendant may file a reply brief on or before June 19, 2008.

       DATED this 7th day of April, 2008.

                                                     BY THE COURT:

                                                     s/Laurie Smith Camp
                                                     United States District Judge
